Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.251 Filed 11/19/20 Page 1 of 38




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                   ____________________

JOSEPH BRUNEAU,                               Case No. 1:19-cv-01037-PLM-RSK

                Plaintiff,                     Honorable Paul L. Maloney
v.

AQUINAS COLLEGE,

                Defendant.


 Joseph Bruneau, Plaintiff pro se           Stephanie R. Setterington (P58177)
 5020 Carson Ave., S.W.                     Varnum LLP
 Grand Rapids, MI 49548                     Attorneys for Defendant
 (616) 238-8558                             Bridgewater Place, P.O. Box 352
 joe_bruneau@yahoo.com                      Grand Rapids, MI 49501-0352
                                            (616) 336-6466
                                            srsetterington@varnumlaw.com




                         DEFENDANT'S BRIEF IN SUPPORT OF ITS
                          MOTION FOR SUMMARY DISPOSITION
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.252 Filed 11/19/20 Page 2 of 38




                                                  TABLE OF CONTENTS

                                                                                                                                           Page

INDEX OF AUTHORITIES.......................................................................................................... iii

I.       INTRODUCTION ...............................................................................................................1

II.      STATEMENT OF UNDISPUTED FACTS ........................................................................3

         A.        Background Regarding Aquinas College.................................................................3

         B.        1987: Plaintiff's Application and Enrollment as an Aquinas Student .....................4

         C.        1988: Plaintiff's First Psychotic Episode and College Efforts to Assist .................5

         D.        1988: Plaintiff's Diagnosis, Treatment Recommendation, and Decision to
                   Stop Treatment .........................................................................................................5

         E.        1989: Plaintiff's Second Psychotic Episode and College Efforts to Assist.............6

         F.        1989: Plaintiff's Suffering Academic Performance ................................................7

         G.        September 1989: Plaintiff's Return to Campus and Student Conduct Code
                   Violation ..................................................................................................................8

         H.        January 1990: Plaintiff's Third Psychotic Episode and College Efforts to
                   Assist ........................................................................................................................8

         I.        September 1990: Plaintiff's Fourth Psychotic Episode at Aquinas,
                   Inappropriate Conduct, and Suspension Pending Confirmation of Fitness to
                   Return.......................................................................................................................9

         J.        September 1990: The College Grants Reinstatement to Plaintiff .........................11

         K.        September 1990: Plaintiff's Fifth Psychotic Episode at the College,
                   Inappropriate Conduct, and Expulsion ..................................................................11

         L.        1990-1994: Plaintiff's Efforts to Have the Expulsion Rescinded .........................13

         M.        February 10, 2016: Plaintiff's Incident on Aquinas' Campus ................................14

         N.        Plaintiff's Arrest and Detention for Trespassing ....................................................16

         O.        February 11, 2016: Aquinas Issues Plaintiff a No Trespass Order .......................16

         P.        May 2016: Plaintiff's Conviction for Trespassing at Aquinas ..............................17



                                                                      i
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.253 Filed 11/19/20 Page 3 of 38




         Q.        2017-2019: Plaintiff's Efforts to Have the "No Trespass" Restrictions
                   Lifted, and Present Lawsuit ...................................................................................17

         R.        Plaintiff's 1994-Present Criminal History and Obstruction of Discovery
                   Regarding Same .....................................................................................................18

         S.        Plaintiff's Record of Treatment Noncompliance and Current Status .....................20

III.     STANDARDS FOR MOTION FOR SUMMARY JUDGMENT .....................................20

IV.      ARGUMENT .....................................................................................................................21

         A.        Arguments Related to All Time Periods ................................................................21

                   1.         Plaintiff's Claims Are Time-Barred ...........................................................21

                   2.         Plaintiff Cannot Establish the Elements of His Claims Under the
                              Statutes .......................................................................................................22

                              a.         Plaintiff is Not a "Qualified Individual\ .........................................23

                              b.         Aquinas Provided Equal Access and Satisfied Any Duty of
                                         Reasonable Modification ...............................................................24

                              37c.       Aquinas' Actions Toward Plaintiff Were Not "Because of"
                                         or "Solely by reason of" Disability ................................................25

                   3.         Plaintiff's Claims are Barred by the Direct Threat Defense.......................27

         B.        Arguments Related to 1988-1990 Events ..............................................................29

                   1.         Plaintiff's Claims are Barred by a Prior Settlement of his OCR
                              Charge ........................................................................................................29

                   2.         Plaintiff's ADA Claims Related to his Expulsion are Barred because
                              they Pre-Date the Statute ...........................................................................30

         C.        Arguments Related Only to 2016 Incident ............................................................30

                   1.         Plaintiff Made No Request for Modification Due to Disability ................30

V.       CONCLUSION ..................................................................................................................31

CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.2(b)(i) .........................................32

CERTIFICATE OF SERVICE ......................................................................................................33




                                                                    ii
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.254 Filed 11/19/20 Page 4 of 38




                                           INDEX OF AUTHORITIES

                                                                                                                    Page(s)
Cases

Alexander v. CareSource, 576 F.3d 551 (6th Cir. 2009) ........................................................ 20, 21

Boyle v. Brown Univ., 881 F. Supp. 747 (D. Rhode Island 1995) ................................................ 30

Bragdon v. Abbott, 524 U.S. 624; 118 S.Ct. 2196; 141 L.Ed.2d 540 (1998) ............................... 27

Collins v. Blue Cross Blue Shield of Michigan, 228 Mich. App. 560 (1998) ......................... 26, 27

Crancer v. Board of Regents of the University of Michigan,
      156 Mich. App. 790 (Mich. App. 1986) ........................................................................... 23

Doe v. Woodford County Bd. of Educ., 213 F.3d 921 (6th Cir. 2000).................................... 27, 28

Doherty v. Southern College of Optometry, 862 F.2d 570 (6th Cir. 1988) ............................ 23, 25

Jakubowski v. Christ Hospital, Inc., 627 F.3d 195 (6th Cir. 2010) .............................................. 25

Jones v. R.R. Donnelley & Sons Co., 541 U.S. 369; 124 S.Ct. 1836; 158 L.Ed.2d 645 (2004) ... 21

Kaltenberger v. Ohio College of Podiatric Medicine, 162 F.3d 432 (6th Cir. 1998) ............. 23, 30

Lewis v. Humboldt Acquisition Corp., Inc., 681 F.3d 312 (6th Cir. 2012) .................................. 25

Maddox v. Univ. of Tennessee, 62 F.3d 843 (6th Cir. 1995) ........................................................ 26

McCormick v. Miami University, 693 F.3d 654 (6th Cir. 2012)................................................... 21

McGregor v. Louisiana State, 3 F.3d 850 (5th Cir. 1995) ............................................................ 30

Mershon v. St. Louis University, 442 F.3d 1069 (8th Cir. 2006) .................................................. 23

North Star Steel Co. v. Thomas, 515 U.S. 29; 115 S.Ct. 1927; 132 L.Ed.2d 27 (1995) ............... 21

Peden v. City of Detroit, 470 Mich. 195; 680 N.W.2d 857 (Mich. 2004) .................................... 26

Port Huron Educ. Ass'n v. Port Huron Area Sch. Dist.,
       452 Mich. 309; 550 N.W.2d 228 (1996)........................................................................... 29

Reicher v. SET Enterprises, 283 Mich. App. 657 (2009) ............................................................. 29

Sandison v. Michigan High Sch. Athletic Ass'n, Inc., 64 F.3d 1026 (6th Cir. 1995) .................... 23

Sevier v. Turner, 742 F.2d 262 (6th Cir. 1984)............................................................................. 21

                                                             iii
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.255 Filed 11/19/20 Page 5 of 38




Soignier v. American Bd. of Plastic Surgery, 92 F.3d 547 (7th Cir. 1996) .................................. 22

Stanciel v. Donahoe, 570 Fed. Appx. 578 (6th Cir. 2014) ........................................................... 26

UAW-GM Human Resources Ctr. v. KSL Recreation Corp.,
     228 Mich. App. 486; 579 N.W.2d 411 (1998) .................................................................. 29

Walbridge Aldinger Corp. v. Walcon Corp., 207 Mich. App. 566 (1994) ................................... 29

Wurzel v. Whirlpool Corp., 482 Fed. Appx. 1 (6th Cir. 2012) ..................................................... 27

Statutes

42 U.S.C. § 12182(b)(3) ............................................................................................................... 27

MCLA § 37.1402 .......................................................................................................................... 26

MCLA § 600.5805 ........................................................................................................................ 21

Other Authorities

I. PL 101–336, July 26, 1990, 104 Stat 327.................................................................................. 30

Rules

Fed. R. Civ. P. 56(a) ..................................................................................................................... 20




                                                                     iv
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.256 Filed 11/19/20 Page 6 of 38




                                    I.      INTRODUCTION

       Plaintiff is a former student of Aquinas College ("Aquinas") who attended in the late

eighties to 1990. Shortly after he began attending Aquinas, Plaintiff developed a mental disorder

causing him to experience serious psychotic episodes in which he became "out of touch with

reality," experienced delusions, became suicidal and/or disruptive, and became unable to function

as a student for extended periods. Plaintiff's treatment providers prescribed medications for him

to manage his condition, but Plaintiff repeatedly decided to stop such medications against his

providers' recommendations.

       Aquinas made several accommodations and modifications to its policies and procedures

during Plaintiff's tenure. Ultimately, however, given Plaintiff's refusal to abide by his treatment

provider's recommendations, the accompanying risk of harm his repeated behaviors presented, and

the impact on his ability to sustainably participate in college activities, he was expelled in 1990.

       Over 25 years later, Plaintiff appeared on Aquinas' campus the evening of February 10,

2016. Although his identity was not known to Aquinas personnel or students, Plaintiff was

observed wandering around campus, attempting to gain access to College buildings, and disrupting

students in a classroom and in the library. Several reports of concerning, disruptive behavior by

Plaintiff were received, prompting Campus Safety officers to respond.

       Campus Safety personnel requested Plaintiff to leave the campus and offered to assist him

with transport. Plaintiff's behavior became more erratic and unreasonable, and he would not

comply with requests that he leave, prompting Aquinas to contact the Grand Rapids Police

Department for assistance. Plaintiff was ultimately arrested for trespass, and later convicted of

this offense.




                                                  1
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.257 Filed 11/19/20 Page 7 of 38




       As a result of Plaintiff's actions that evening, which included inappropriate sexual

comments and overtures to Aquinas students and personnel and the discovery of sexual and

bondage paraphernalia in his belongings upon his arrest, and information that subsequently came

to Aquinas' attention regarding Plaintiff's involvement with the criminal justice system, Aquinas

issued Plaintiff a "no trespass" order barring him from returning to the campus. Plaintiff made

several demands that the order be lifted, on the basis that he did not commit the acts attributed to

him. Aquinas declined to modify or lift the order.

       On December 10, 2019, Plaintiff filed suit against Aquinas alleging that both its expulsion

of him in 1990 and its issuance of and refusal to lift the "no trespass" order in 2016 violated the

Americans with Disabilities Act, the Rehabilitation Act, and the Michigan Persons with

Disabilities Civil Rights Act. Plaintiff's claims are barred in their entirety by the statute of

limitations, whether arising out of the 1988-90 time period or the 2016 incident. All claims are

also barred because: Plaintiff is not and was not a qualified individual as required to support his

claims; accommodation or modification duties under the statutes were satisfied; Aquinas' actions

were not taken because of disability, and they are barred by the "direct threat" defense applicable

to the statutes at issue. Plaintiff's claims regarding the 1990 expulsion are further barred by his

prior voluntary resolution of such claims. The ADA claim regarding Plaintiff's 1990 expulsion is

also barred because the events precede the ADA Title III's effective date. Regarding the 2016-

based claims, such claims are barred not only for the generally applicable reason outlined above,

but also because Plaintiff did not make any request for modification based on a disability.




                                                 2
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.258 Filed 11/19/20 Page 8 of 38




                            II.    STATEMENT OF UNDISPUTED FACTS

A.        Background Regarding Aquinas College

          1.     Aquinas College is a private, in-person, Catholic college rooted in the Dominican

tradition. (Aquinas Mission and Vision, Ex. 1.)

          2.     It is the policy of Aquinas College that no person on the basis of race, color,

religion, ethnic origin, age, sex, sexual orientation, marital status, or disability shall be

discriminated against, excluded from participation or employment in, or be otherwise subjected to

discrimination under any program or activity for which Aquinas College is responsible. (Id.)

          3.     The College is committed to providing equal access to its programs to individuals

with disabilities. (Accessibility Services Mission Statement, Ex. 2.)

          4.     All candidates seeking to enroll at Aquinas must meet qualifications for admission,

information regarding which is requested on the College's application for admission. (Application,

Ex. 3.)

          5.     A candidate's prior academic performance and prior conduct is considered,

including prior disciplinary and any applicable criminal history. (Id.)

          6.     Regarding criminal history, the College requires applicants to complete an

application for admission which asks the following questions:

          Have you ever been convicted of a felony or misdemeanor, other than minor traffic
          offenses?

          Are there criminal charges pending against you at this time?

(Id.; Defendant's Response to Plaintiff's First Interrogatories, No. 6, Ex. 4.)

          7.     Applicants who respond to either of these questions affirmatively are asked to

provide further detail regarding the offenses and/or charges and the relevant circumstances. (Id.)




                                                  3
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.259 Filed 11/19/20 Page 9 of 38




          8.    Such applications and additional information are submitted for the College's review

and consideration of whether additional information is needed, and/or for a determination as to

whether or not the criminal history renders the candidate ineligible for an offer of admission. (Id.)

          9.    Such determination is a multi-factored process which considers information such

as the nature of the criminal offense(s), the time frame in which such offense(s) occurred, the status

of the offense(s), the number of offense(s), evidence of rehabilitation, safety considerations, and

any other aggravating or mitigating factors that may be present. (Id.)

          10.   Between 2017 and 2020, four applicants to the College disclosed crimes involving

assault or disorderly conduct nature. (Id. at No. 2; Summary of Applicant Disclosures, Ex. 5.)

None of these candidates were offered admission. (Id.)

B.        1987: Plaintiff's Application and Enrollment as an Aquinas Student

          11.   Plaintiff applied for admission to Aquinas in February 1987. (Bruneau Application,

Ex. 6.)

          12.   Plaintiff has never, at any time to the present, submitted any other application for

enrollment to Aquinas. (Plaintiff Dep., Ex. 7, at 16.)

          13.   Plaintiff was accepted for admission and enrolled at Aquinas in August or

September 1987. (Id.)

          14.   Plaintiff last attended Aquinas in September 1990, when he was expelled. (Id. at

17.)

          15.   In the interim period, Plaintiff enrolled for classes at Aquinas College each year on

a full-time basis except for the absence periods outlined below. (Final Transcript, Ex. 8.)




                                                  4
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.260 Filed 11/19/20 Page 10 of 38




 C.      1988: Plaintiff's First Psychotic Episode and College Efforts to Assist

         16.     In February 1988, Plaintiff experienced a psychotic episode at the College.

 (Plaintiff Dep., Ex. 7, at 41.)

         17.     Plaintiff states there were no apparent triggers for the episode; and that there was

 nothing occurring in his environment that "a person attending college would consider abnormal."

 (Id. at 45.)

         18.     Plaintiff describes the episode as an escalation of symptoms in which Plaintiff could

 not sleep, and ultimately began experiencing severe delusions and paranoid and suicidal thoughts.

 (Id. at 29-30, 44.)

         19.     Aquinas College's Campus Safety personnel and a member of the counseling staff

 assisted Plaintiff and called for emergency medical assistance. (Id. at 30.)

         20.     Plaintiff was taken first to St. Mary's Hospital, and from there transferred to the

 Coldwater Regional Mental Healthcare facility, where he remained until April 22, 1988, when he

 was then released to an outpatient treatment facility in Hillsdale, Michigan. (Id. at 46.)

         21.     Aquinas allowed Plaintiff to withdraw from classes for the term in which this event

 occurred, permitting him to avoid academic penalty. (Id. at 47; Final Transcript, Ex. 8.)

 D.      1988: Plaintiff's Diagnosis, Treatment Recommendation, and Decision to Stop
         Treatment

         22.     Plaintiff was initially diagnosed with "unspecified psychosis" in connection with

 this episode (Plaintiff Dep., Ex. 7, at 26.)

         23.     Plaintiff has subsequently received several diagnoses, but primary among them is

 bipolar disorder. (Id. at 23.)

         24.     Plaintiff states that the disorder can lead to a state of psychosis for him, which

 requires hospitalization and treatment in a mental health setting. (Id.)

                                                   5
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.261 Filed 11/19/20 Page 11 of 38




        25.     After this initial episode, Plaintiff was prescribed Haldol by his physicians to help

 manage his condition and prevent the occurrence of further psychotic episodes.      (Id. at 27, 46.)

        26.     Plaintiff took the medication initially; but decided on his own to quit taking it in

 the summer of 1988. (Id. at 51, 59.)

        27.     Plaintiff had no recommendation from any health care provider to do this. (Id.)

        28.     Over the years since his first hospitalization to the present, Plaintiff has routinely

 take the approach of discontinuing his prescribed medications, as a matter of personal choice,

 following his release from any period of hospitalization. (Id. at 199-200.) Plaintiff indicates that

 the periods in which he has been medicated can be identified by the periods in which he was

 hospitalized. (Id.)

 E.     1989: Plaintiff's Second Psychotic Episode and College Efforts to Assist

        29.     Plaintiff sought to return to Aquinas College for the Fall 1988 semester and was

 permitted to do so. (Id. at 47.)

        30.     Plaintiff received an "Incomplete" grade in his Philosophy 101 class for the Fall

 semester but completed the remainder of his classes. (Final Grade Reports, Ex. 9.)

        31.     In February 1989, Plaintiff, who had unilaterally discontinued his medication,

 experienced another psychotic episode at Aquinas College, which resulted in him being taken to

 the Coldwater Mental Health facility and treated there for a number of weeks, during which time

 he was unable to attend classes. (Plaintiff Dep., Ex. 7, at 48, 51.)

        32.     Plaintiff returned later in that semester and completed two of his five classes for a

 grade, but received an "Incomplete" grade in two other classes and a "No Credit" grade in another,

 which resulted in academic probation. (Final Grade Reports, Ex. 9.)




                                                   6
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.262 Filed 11/19/20 Page 12 of 38




        33.     In an effort to assist Plaintiff, the Dean of Aquinas College either advised Plaintiff

 or made an agreement with Plaintiff that he could request to have the grades for the two classes he

 was not able to complete removed from his transcript entirely based on his circumstances.

 (Plaintiff Dep., Ex. 7, at 63, 74-75; October 10, 1989 Letter, Ex. 10.)

        34.     As a result of this request being granted, the two incomplete grades would not

 negatively impact Plaintiff's grade point average. (Plaintiff Dep., Ex. 7, at 63.)

        35.     In October 1989, Plaintiff made this request and the College granted it. (Id. at 64-

 65; Final Transcript, Ex. 8.)

        36.     This request was made and granted outside the normal time parameters for a student

 to withdraw from a class. (Course Catalogue Excerpts, Ex. 11.)

        37.     Aquinas College also granted Plaintiff additional time beyond that ordinarily

 permitted under its policies to complete the coursework for the "Incomplete" grade in Philosophy

 101 he had received in the Fall semester. (Course Catalogue Excerpt, Ex. 11; March 4, 1989

 Extension of Incomplete Grade Request, Ex. 12; April 12, 1989 Grade Change Report, Ex. 13.)

        38.     As with his first hospitalization and each hospitalization since, Plaintiff was given

 medication in order to bring him out of his psychotic state and was prescribed medication to take

 on an ongoing basis to control his condition. (Plaintiff Dep., Ex. 7, at 36, 99-100.)

 F.     1989: Plaintiff's Suffering Academic Performance

        39.     Even with the assistance and adjustment provided by the College, Plaintiff earned

 a grade point average of 1.2 for the Spring 1989 semester. (Id. at 65-66.)

        40.     Plaintiff then took a Fiction Writing Workshop class in the summer of 1989, for

 which he originally received a grade of "Incomplete," but ultimately received a grade of "D." (Id.

 at 65; Final Transcript, Ex. 8.)



                                                   7
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.263 Filed 11/19/20 Page 13 of 38




 G.     September 1989: Plaintiff's Return to Campus and Student Conduct Code Violation

        41.     Plaintiff enrolled full time for the Fall 1989 semester. (Final Transcript, Ex. 8.)

        42.     Plaintiff completed the semester but received a disciplinary infraction for Disregard

 of the Directive of a College Official. (Plaintiff Dep., Ex. 7, at 80.)

        43.     Plaintiff was found to have created an unsafe condition after he entered a dormitory

 building in which he did not reside, observed a student he did not know sleeping in the common

 room, and piled cushions up around the sleeping student. (Id. at 76-80.)

        44.     Plaintiff then refused to follow the instructions of the residence hall personnel to

 correct the situation, and further refused to leave the building when directed to do so. (Id.)

        45.     Plaintiff denies this event had anything to do with his bipolar condition. (Id. at 81.)

        46.     The College required Plaintiff to write an apology and an essay about the

 importance of following the directives of College officials. (Id. at 80.)

 H.     January 1990: Plaintiff's Third Psychotic Episode and College Efforts to Assist

        47.     In January 1990, Plaintiff experienced a third psychotic episode while enrolled at

 the College. (January 22, 1990 Letter to Professors, Ex. 14.)

        48.     Plaintiff does not have a recollection of the incident. (Plaintiff Dep., Ex. 7, at 89.)

        49.     Plaintiff does not dispute that he had again discontinued taking the prescribed

 medicine at some point following his release from his second hospitalization. (Id. at 104.)

        50.     Plaintiff was hospitalized and incurred an extended absence from classes.

 (January 22, 1990 Letter to Professors, Ex. 14; Plaintiff's Interrogatory Response No. 12, Ex. 15.)

        51.     Plaintiff dropped one of his four classes for this semester: "Intro to Social Work."

 (Spring 1990 Class Listing, Ex. 16).




                                                   8
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.264 Filed 11/19/20 Page 14 of 38




        52.      Plaintiff originally received a grade of "No Credit" for "Nature Study," a grade of

 "Incomplete" for "Dimensions of Being Human," and a grade of "B" for "Conditioning II."

 (May 24, 1990 Final Grade Report, Ex. 17.)

        53.     The College permitted Plaintiff to complete his coursework for "Dimensions of

 Being Human" late, and to receive a "B+" grade. (Final Transcript, Ex. 8; March 11, 1991 Grade

 Change Report, Ex. 18.)

        54.     Plaintiff denies his grade of "No Credit" in Nature Study was a result of his

 condition. Rather, he states he received this grade because of "laziness." (Plaintiff Dep., Ex. 7, at

 90.)

 I.     September 1990: Plaintiff's Fourth Psychotic Episode at Aquinas, Inappropriate
        Conduct, and Suspension Pending Confirmation of Fitness to Return

        55.     Plaintiff was off during the summer months and returned to Aquinas in August

 1990 for the Fall semester. (Id. at 92.)

        56.     Plaintiff experienced a fourth psychotic episode almost immediately upon his

 return, in which he engaged in disruptive, erratic, and admittedly inappropriate behavior in the

 school's cafeteria. (Id. at 93.)

        57.     Plaintiff recalls he "jumped off a table" in the cafeteria but acknowledges his

 recollection of the event is "foggy." (Id. at 94.) While witnesses are no longer available, College

 records indicate Plaintiff "tripped out" in the cafeteria, made strange comments toward a cafeteria

 worker, was disheveled and "covered with burrs" from the knees down, and that his parents were

 contacted for assistance. (Campus Safety Report, Ex. 19.)

        58.     Plaintiff was hospitalized for a period of approximately 17 days following this

 incident. (Plaintiff's Interrogatory Response No. 12, Ex. 15.)




                                                  9
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.265 Filed 11/19/20 Page 15 of 38




        59.     About a week into his treatment, Plaintiff attempted to leave the hospital "AMA"

 (against medical advice), but his mother had him involuntarily committed. (Plaintiff Dep., Ex. 7,

 at 108.)

        60.     As of this time, Plaintiff had just again engaged in concerning conduct at the school

 and had to leave campus in the midst of classes. Plaintiff had experienced several instances

 previously, and Aquinas College was aware of at least two prior instances in which Plaintiff had

 stopped taking the medication that had been prescribed to him by his doctors, each of which had

 resulted in a serious incident for Plaintiff in which he had experienced a further psychotic episode.

 (September 6, 1990 Letter, Ex. 20.)

        61.     Under Aquinas' policies in effect at the time, "In emergencies, where the chief

 student personnel officer determines there to be danger of imminent harm to persons or property

 … the chief student personnel officer may summarily suspend or expel a student." (Course

 Catalogue Excerpts, Ex. 11.)

        62.     The College considered Plaintiff's behavior to pose serious harm to himself, and to

 require input from Plaintiff's medical provider prior to him being allowed to return to campus.

 (September 6, 1990 Letter, Ex. 20.)

        63.     On September 6, 1990, Plaintiff was suspended from the College pending evidence

 from a psychologist that he was ready to return to college and had received treatment. (Id.)

        64.     Plaintiff was advised that, should his medical providers determine ongoing

 treatment was necessary, Plaintiff's receipt of such treatment may become a condition of his

 reinstatement. (Id.)




                                                  10
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.266 Filed 11/19/20 Page 16 of 38




 J.      September 1990: The College Grants Reinstatement to Plaintiff

         65.    After completing his period of hospitalization, Plaintiff sought re-admittance to

 Aquinas. (September 17, 1990 Reinstatement Communications, Ex. 21.)

         66.    Plaintiff provided a doctor's letter stating he was ready to return and committed to

 complying with his treatment recommendations. (Id.)

         67.    The College considered this information and granted Plaintiff's request. (Id.)

         68.    Plaintiff's reinstatement was subject to the condition that he comply with his

 doctor's treatment recommendations and that he allow a release of information to confirm this.

 (Id.)

         69.    Plaintiff agreed to this arrangement. (Id.; Plaintiff Dep., Ex. 7, at 105)

         70.    Plaintiff's doctors had prescribed Lithium or another medication to Plaintiff in his

 most recent hospitalization, which Plaintiff was to continue taking following his release from the

 hospital. (Plaintiff Dep., Ex. 7, at 112.)

 K.      September 1990: Plaintiff's Fifth Psychotic Episode at the College, Inappropriate
         Conduct, and Expulsion

         71.    Plaintiff returned to Aquinas College sometime around or after September 17, 1990.

 (Id. at 105; September 17, 1990 Reinstatement Communications, Ex. 21.)

         72.    Shortly after his return to campus, however, Plaintiff again took himself off the

 medication his doctors prescribed for him. (Plaintiff Dep., Ex. 7, at 112-113.)

         73.    Between September 25 and September 26, 1990 Plaintiff was involved in a series

 of incidents in which he engaged in erratic, incoherent, and disruptive behavior on the campus.

 These events involved Plaintiff engaging in argumentative and combative confrontations with

 faculty and staff, sometimes while wearing a fencing foil; Plaintiff taking the bicycle of a young

 child and riding it around, prompting the child to seek an employee's assistance to get his bicycle

                                                  11
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.267 Filed 11/19/20 Page 17 of 38




 back; Plaintiff fishing a large telecommunications spool out of a creek and attempting to bring it

 into the dormitory; and other actions. (September 25, 26, and 28 Incident Reports, Ex. 22)

        74.     On the evening of September 25, 1990, a former student of Aquinas telephoned an

 employee of the College and reported that Plaintiff had contacted her and informed her he was off

 or almost off his medication. (Id.)

        75.     On September 26, 1990, Plaintiff disrupted a soccer game by running out onto the

 field with his fencing foil, shouting Shakespeare and yelling at the opposing team's players.

 (September 26, 1990 Campus Safety Report, Ex. 23.)

        76.     Plaintiff refused to leave the soccer field when Campus Safety personnel attempted

 to get him to do so. (Id.)

        77.     The College contacted Plaintiff's mother, who requested that the Grand Rapids

 Police be called as she would not be able to get Plaintiff to return to the hospital. (Id.)

        78.     When the Grand Rapids Police did arrive, their assistance was required to subdue

 Plaintiff, who resisted leaving and attempted to grab his fencing foil in the process of a physical

 struggle to remove him. (Id.; Plaintiff Dep., Ex. 7, at 133.)

        79.     The College determined that Plaintiff's behavior was again inappropriate and

 indicative of a risk of harm, that he had violated the conditions of his return to the school, and that

 there was nothing more the school could do to assist the situation in light of Plaintiff's disregard

 of his doctors' treatment instructions. (September 26, 1990 Letter, Ex. 24.)

        80.     Plaintiff was therefore expelled on September 26, 1990. The expulsion letter

 specified "Expulsion is permanent and under no circumstances will you be readmitted." (Id.)

        81.     Plaintiff was informed of his right to appeal the decision within seven days. (Id.)




                                                   12
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.268 Filed 11/19/20 Page 18 of 38




         82.     Aquinas reduced Plaintiff's tuition charges to zero for the semester. (Notation

 Regarding 0% Tuition Charge, Ex. 25.)

 L.      1990-1994: Plaintiff's Efforts to Have the Expulsion Rescinded

         83.     Plaintiff was hospitalized for a period of several months after this incident.

 (Plaintiff Dep., Ex. 7, at 141.)

         84.     Following his release, Plaintiff made several attempts to be permitted to return to

 Aquinas, which the College considered (despite the expiration of the seven-day appeal time frame),

 but the College did not rescind its decision. (Id. at 141-142.)

         85.     At some point prior to 1993, Plaintiff filed a Charge with the United States

 Department of Education, Office of Civil Rights regarding his expulsion and desire for re-

 admittance to Aquinas. (Id. at 148).

         86.     In August 1993, Plaintiff resolved that Charge through a voluntary settlement

 agreement with Aquinas College. (Id. at 149; August 26, 1993 Letter Resolution Agreement, Ex.

 26.)

         87.     Under the agreement, Plaintiff authorized disclosure of his records and review of

 his situation by a mental health professional designated by the College, for the College's further

 consideration of whether to rescind his expulsion. (Plaintiff Dep., Ex. 7, at 150-151.)

         88.     Plaintiff accepted those terms to resolve his Charge. (Id. at 152.)

         89.     The mental health professional's evaluation was conducted, but it did not result in

 a change to Plaintiff's status at Aquinas. (January 6, 1994 Letter, Ex. 27.)

         90.     The psychologist who evaluated Plaintiff opined that Plaintiff could not currently

 return to school without presenting a threat to himself or others. (January 7, 1994 Dr. Boyd Letter,

 Ex. 28.)



                                                  13
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.269 Filed 11/19/20 Page 19 of 38




        91.     The Dean notified Plaintiff he would not be re-admitted at that time and urged

 Plaintiff to schedule an appointment with the psychologist who had conducted the evaluation.

 (January 6, 1994 Letter, Ex. 27.)

        92.     After receipt of this notification, Plaintiff did not at any time file any further

 complaint or make any further request that the College rescind his expulsion. (Plaintiff Dep., Ex.

 7, at 152, 157.)

 M.     February 10, 2016: Plaintiff's Incident on Aquinas' Campus

        93.     On the evening of February 10, 2016, Plaintiff showed up at Aquinas' campus. (Id.

 at 190.) He was 47 years old at the time; more than 25 years had passed since his enrollment as a

 student.

        94.     According to Plaintiff, he had missed a bus he intended to take out of town, did not

 have money for a hotel, and therefore decided to go to Aquinas' campus "because its somewhere I

 once felt comfortable, I guess." (Id. at 191.)

        95.     Plaintiff explains he was "looking for an empty dorm room or place to sleep for the

 night." (Id. at 193.)

        96.     Once at the campus, Plaintiff engaged in a series of behaviors that were either

 reported to Aquinas Campus Safety personnel by students and employees of the College, or

 directly observed by Campus Safety personnel involved; and are summarized in an Aquinas

 Campus Safety Office report. (Incident Report Regarding February 10, 2016, Ex. 29.)

        97.     Plaintiff has reviewed the Campus Safety report. (Plaintiff Dep., Ex. 7, at 207.)

 While he denies he had any intent to bother, interrupt, unsettle, or make nervous or uncomfortable

 the students or employees referenced, he does not dispute whether the students and employees felt




                                                  14
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.270 Filed 11/19/20 Page 20 of 38




 that way as a result of his actions, or that the individuals reported the events referenced to Campus

 Safety personnel. (Id. at 208-210.)

         98.     While Plaintiff 's overall memory of the incident is not clear, he recalls and admits

 at least that he:

                 a.     Attempted to gain access to the Art and Music Center (Id. at 227);

                 b.     Asked a male student there if the student would allow Plaintiff to store his

                        bags in the student's room and spend the night with him (Id.);

                 c.     Was carrying dildos and bondage paraphernalia in his bags (Id. at 228);

                 d.     May have entered a student dormitory and gone to the common room within

                        the dormitory (Id.);

                 e.     Went to the student library, and was playing loud music on his phone while

                        students were there studying (Id. at 192-193);

                 f.     Interrupted some students in the library while they were studying (Id. at

                        221);

                 g.     May have had a few conversations with some students in the library which

                        they regarded as inappropriate, including "complimenting one female

                        student on her eyes," and touching the arm of a male student and

                        commenting that he was a "big guy" (Id. at 195); and

                 h.     Asked at least one Campus Safety officer to have sexual relations with him.

                        (Id. at 214).




                                                  15
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.271 Filed 11/19/20 Page 21 of 38




 N.     Plaintiff's Arrest and Detention for Trespassing

        99.     At approximately 11:30 p.m., when Plaintiff had still not left the campus as

 requested, the police were called. (Id. at 193; Incident Report Regarding February 10, 2016, Ex.

 29.)

        100.    Plaintiff was arrested for trespassing on Aquinas' campus, and was taken to jail.

 (Plaintiff Dep., Ex. 7, at 194, 233.)

        101.    There is no evidence any of the individuals at Aquinas who were involved in

 reporting or responding to the incident knew Plaintiff or had any information about his

 background. (Id. at 231-232.)

        102.    In connection with this incident, Grand Rapids Police Department personnel

 advised Aquinas Campus Safety personnel that Plaintiff was known to the Grand Rapids Police

 Department, was an individual around whom the College should exercise care, was last known to

 have been in Toronto, and had been the subject of Department efforts to assist authorities in

 preventing him from being able to return to the country. (Defendant's Responses to Plaintiff's

 Interrogatories, Ex. 4, at Response 9.)

 O.     February 11, 2016: Aquinas Issues Plaintiff a No Trespass Order

        103.    On the day following the trespass incident, Aquinas' Campus Safety personnel

 delivered a "no trespass order" to him at the jail. (Plaintiff Dep., Ex. 7, at 234.)

        104.    The order advised Plaintiff he was not permitted to enter the property of the College

 and that he would be considered to be trespassing and subject to criminal prosecution if he did so.

 (February 11, 2016 "Notice of Trespass," Ex. 30.)




                                                   16
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.272 Filed 11/19/20 Page 22 of 38




         105.   The "no trespass" order was justified on several grounds, including that Plaintiff's

 behavior had been threatening, harassing and/or intimidating, and disruptive to students.

 (Defendant's Responses to Plaintiff's Interrogatories, Ex. 4, at Response 14.)

 P.      May 2016: Plaintiff's Conviction for Trespassing at Aquinas

         106.   Plaintiff pled guilty to and was convicted of trespassing at Aquinas' campus in the

 February incident. (Plaintiff Dep., Ex. 7, at 249.)

         107.   Plaintiff was jailed for a total of 112 days related to this incident. (Id. at 234.)

 Q.      2017-2019: Plaintiff's Efforts to Have the "No Trespass" Restrictions Lifted, and
         Present Lawsuit

         108.   Beginning in 2017, Plaintiff made several efforts to have the "no trespass"

 restrictions lifted. (Plaintiff Letters Regarding No Trespass Order, Ex. 31.)

         109.   Plaintiff's only stated rationale for requesting that the restrictions be lifted was that

 he did not commit any infraction to justify a "no trespass order." (Plaintiff Dep., Ex. 7, at 248,

 251.)

         110.   Plaintiff asserted that he had not engaged in any behavior that was harassing,

 intimidating, or disruptive during the incident in February 2016. (Id. at 258; Plaintiff Letters

 Regarding No Trespass Order, Ex. 31.)

         111.   Upon review of Plaintiff's request, there was no suggestion that any change in

 circumstances had occurred that would warrant lifting of the order. (Aquinas Response Letters

 Regarding No Trespass Order, Ex. 32.)1




         11
          In fact, in light of Plaintiff's conviction for trespass, an additional basis for the order
 existed, namely, Plaintiff's confirmed engagement in criminal activity on the campus.
 (Defendant's Responses to Plaintiff's Interrogatories, Ex. 4, at Response 14.)

                                                   17
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.273 Filed 11/19/20 Page 23 of 38




        112.   Aquinas declined to modify the "no trespass" restrictions in response to Plaintiff's

 requests. (Aquinas Response Letters Regarding No Trespass Order, Ex. 32.)

        113.   On December 10, 2019, Plaintiff filed the instant lawsuit against Aquinas.

 (Complaint, ECF No. 1, PageID.1-13)

 R.     Plaintiff's 1994-Present Criminal History and Obstruction of Discovery Regarding
        Same

        114.   Just several months after the closure of Plaintiff's OCR charge in 1994, Plaintiff

 began to be involved a series of serious criminal matters that were reported in local newspapers.

 (Newspaper Articles, Ex. 33.)

        115.   Copies of certain such news reports had been maintained by Aquinas in his student

 affairs file for consideration in the event Plaintiff sought to continue his efforts to force

 reinstatement at Aquinas. (Id.)

        116.   Plaintiff's reported criminal involvement included:

               a.      A 1994 arrest for criminal sexual conduct related to Plaintiff allegedly

                       groping a man at a Target store;

               b.      A 1994 arrest for malicious destruction of property related to an incident in

                       which Plaintiff drove a vehicle through the window of a Honda dealership

                       and smashed property with a baseball bat, an offense for which, in 1997, he

                       was found "not guilty by reason of insanity" and institutionalized; and

               c.      A1997 indictment for open murder, arising from the death of a fellow

                       mental institution patient of Plaintiff's in Grand Rapids. (Id.)

        117.   In the course of Plaintiff's lawsuit, Aquinas issued interrogatories and document

 production requests regarding Plaintiff's criminal history, to evaluate whether Plaintiff could

 demonstrate he was "qualified" for enrollment at Aquinas as required to support his claims,

                                                 18
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.274 Filed 11/19/20 Page 24 of 38




 whether any requested modification of policies and procedures to allow Plaintiff to be re-enrolled

 was reasonable, and whether enrollment of Plaintiff would constitute a direct threat to health and

 safety. (Defendant's Brief in Support of Motion to Compel, ECF No. 30, PageID.109-110.)

        118.    Plaintiff refused to respond to these, prompting a motion to compel by Aquinas.

 (Id.; Defendant's Motion to Compel, ECF No. 29, PageID.104-105.)

        119.    On September 22, 2020, the Court ordered Plaintiff to produce information about

 his criminal history as Aquinas had requested. (Order, ECF No. 41, PageID.164-165.)

        120.    Plaintiff refused to comply and remains in violation of the Court's order. (Motion

 and Brief for Dismissal, ECF Nos. 44 and 45, PageID.170-192; Supplement to Motion, ECF No.

 47, PageID.196-201.)

        121.    Plaintiff's violation precluded the completion of lay discovery as well as expert

 discovery regarding whether Plaintiff is a "qualified" individual with a disability as required for

 his claims; whether modification of regular policies, procedures, and/or decisions would have been

 "reasonable" as required to support his claims; and whether enrollment of Plaintiff at Aquinas

 would present a "direct threat" to health and safety. (Id.)

        122.    Defendant filed a Motion for Dismissal or Alternative Sanction, including a request

 for an order that the above matters at issue be considered established in favor of Aquinas for

 purposes of the litigation. That motion remains pending as of the date of this filing. (Motion and

 Brief for Dismissal, ECF Nos. 44 and 45, PageID.170-192.)

        123.    Notwithstanding Plaintiff's refusal to provide discovery, Aquinas has been able

 independently to identify the following limited evidence of Plaintiff's criminal history: a 2001

 conviction for felony assault of a police officer, for which Plaintiff was sentenced to prison for

 two years; a 2000 conviction for criminal sexual conduct that originated as an arrest for felony



                                                  19
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.275 Filed 11/19/20 Page 25 of 38




 sexual assault; a 2014 conviction for disturbing the peace in Wayland, Michigan; and the 2016

 conviction for trespassing at Aquinas. (Criminal Record Reports, Ex. 34.)

 S.      Plaintiff's Record of Treatment Noncompliance and Current Status

         124.       Plaintiff has experienced approximately 27 periods of hospitalization related to his

 bipolar condition since his expulsion. (Plaintiff's Interrogatory Response No. 12, Ex. 15.)

         125.       After each instance of hospitalization, Plaintiff has made the personal decision to

 discontinue the medication prescribed for him to control his condition. (Plaintiff Dep., Ex. 7, at

 199-200.)

         126.       Plaintiff has a history of violent behaviors referenced in his medical records

 including, as late as 2019 and 2020, making threats against his psychiatrist; engaging in a violent

 episode in which he overturned furniture and papers in the psychiatrist's office; assaults or

 attempted assaults on medical personnel and fellow patients; and an assault on a public safety

 officer. (Medical Record Excerpts, Ex. 35.)

         127.       Plaintiff's treatment providers indicate he remains at "chronic risk of

 decompensation and subsequent harm to himself or others given his history of non-compliance."

 (Id.)

             III.      STANDARDS FOR MOTION FOR SUMMARY JUDGMENT

         Summary judgment is appropriate "if the movant shows that there is no genuine dispute as

 to any material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P.

 56(a). When reviewing the motion record, the Court must determine "whether the evidence

 presents a sufficient disagreement to require submission to a jury or whether it is so one-sided that

 one party must prevail as a matter of law." Alexander v. CareSource, 576 F.3d 551, 557-58 (6th

 Cir. 2009) (citations omitted). The moving party "has the initial burden of informing the district



                                                     20
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.276 Filed 11/19/20 Page 26 of 38




 court of the basis for its motion and identifying portions of the record that demonstrate the absence

 of a genuine dispute over material facts." Id. at 558. "Once that occurs, the party opposing the

 motion then may not 'rely on the hope that the trier of fact will disbelieve the movant's denial of a

 disputed fact' but must make an affirmative showing with proper evidence in order to defeat the

 motion." Id. (citation omitted).

                                       IV.     ARGUMENT

 A.     Arguments Related to All Time Periods

        1.      Plaintiff's Claims Are Time-Barred

        The statute of limitations for claims under the Michigan Persons with Disabilities Civil

 Rights Act, as well as for claims brought in Michigan under the Americans with Disabilities Act

 and/or the Rehabilitation Act is three years.2 Mich. Comp. Laws Ann. § 600.5805. Claims brought

 outside the applicable limitations period may not be brought or maintained, and must be dismissed.

 Id.

        The statute of limitations commences to run when the plaintiff knows or has reason to know

 of the injury which is the basis of his action. Sevier v. Turner, 742 F.2d 262, 273 (6th Cir. 1984).

 A defendant's refusal later to undo an allegedly discriminatory decision is not a fresh act of


        2  While the ADA and the Rehabilitation Act do not set forth specific statutory limitations
 periods, where a federal statute does not specify a limitations period, the statute of limitations is
 determined in one of two ways. First, if the claim arises under an Act of Congress enacted after
 December 1, 1990, it is governed by 28 U.S.C. § 1658, which prescribes a four-year statute of
 limitations period. Jones v. R.R. Donnelley & Sons Co., 541 U.S. 369, 382; 124 S.Ct. 1836; 158
 L.Ed.2d 645 (2004). Otherwise, courts borrow the most analogous state limitations period, so long
 as the application of state law is not “at odds with the purpose or operation of federal substantive
 law.” North Star Steel Co. v. Thomas, 515 U.S. 29, 34; 115 S.Ct. 1927; 132 L.Ed.2d 27 (1995)
 (internal quotation marks and citations omitted). The most analogous claim to a claim under the
 Rehabilitation Act or the Americans with Disabilities Act is either a personal injury claim or a
 claim for discrimination under the state disability discrimination statute. McCormick v. Miami
 University, 693 F.3d 654, 663-664 (6th Cir. 2012). In Michigan, the statute of limitations for
 claims for either of those types of claims is three years. See Mich. Comp. Laws Ann. § 600.5805.

                                                  21
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.277 Filed 11/19/20 Page 27 of 38




 discrimination for limitations purposes. Soignier v. American Bd. of Plastic Surgery, 92 F.3d 547,

 552 (7th Cir. 1996).

         The Soignier case is instructive. In Soignier, the plaintiff alleged that the medical board

 denied him testing accommodations, which caused him to fail his test and be denied certification.

 The original denial of accommodation happened outside the applicable two-year limitations period

 applicable in Illinois. Sometime later, and within the two-year limitations period, the plaintiff

 requested that the board reconsider its decision and allow him to take a new test. The board stood

 by its original decision and declined his request. The court found that the Board's refusal to change

 its decision was not a new act of discrimination and the plaintiff's claim was time-barred. Id.

         In the present case, Plaintiff's claims are all outside the three-year statute of limitations

 applicable to his claims. With respect to his expulsion and events related to his tenure as a student,

 those happened 29 or more years before he filed his Complaint. Plaintiff stopped even pursuing a

 rescission of his expulsion by 1994. With respect to the February 2016 arrest incident and "no

 trespass" order, the statute of limitations began to run on the February 10, 2016 date of the arrest

 incident and February 11, 2016 date of the "no trespass" order, respectively. The statute of

 limitations thus expired in February 2019. Plaintiff did not file suit until December 2019. The

 College's subsequent refusals to lift the "no trespass" order restrictions when Plaintiff requested

 did not extend the statute of limitations for his claims. Soignier, supra.

         2.      Plaintiff Cannot Establish the Elements of His Claims Under the Statutes

         To establish a claim of discriminatory exclusion from an institution in violation of the

 Rehabilitation Act or the Americans with Disabilities Act, the plaintiff must show that: (1) the

 plaintiff is disabled as defined in each statute; (2) the plaintiff is “otherwise qualified” to continue

 in the program; and (3) he was dismissed or excluded from the program on the basis of the



                                                   22
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.278 Filed 11/19/20 Page 28 of 38




 disability. See, Kaltenberger v. Ohio College of Podiatric Medicine, 162 F.3d 432, 435 (6th Cir.

 1998) (applying Title III of ADA and Rehabilitation Act). The burden of showing that the

 defendant constitutes program receiving federal financial assistance, that the plaintiff is individual

 with disability, and that the plaintiff is otherwise qualified rests with the plaintiff. Id.

         Similarly, in order to make out a prima facie case of disability discrimination by an

 educational institution under the MPWDCRA, a plaintiff must show (1) that he is a “disabled

 person” under the Act; (2) that he is qualified for the educational opportunity sought in spite of his

 disability; and (3) that, in spite of the above qualifications, he is not being afforded an equal

 opportunity to secure the educational opportunity as other applicants. Crancer v. Board of Regents

 of the University of Michigan, 156 Mich. App. 790, 794 (Mich. App. 1986).

                 a.      Plaintiff is Not a "Qualified Individual"

         A handicapped or disabled person is “otherwise qualified” to participate in a program if he

 or she can meet the program's requirements with or without reasonable accommodation. Sandison

 v. Michigan High Sch. Athletic Ass'n, Inc., 64 F.3d 1026, 1034 (6th Cir. 1995) (citing Doherty v.

 Southern College of Optometry, 862 F.2d 570, 574-575 (6th Cir. 1988)). In any claim brought

 based on the refusal of a higher education institution to alter its policy of admissions or academic

 matters, courts are to give judicial deference to the educational institution's determination, absent

 proof that its standards serve little purpose than to deny an education to handicapped persons.

 Crancer, 156 Mich. App. at 794 (deference as to admission requirements); Mershon v. St. Louis

 University, 442 F.3d 1069, 1077 (8th Cir. 2006) (deference as to academic decisions).

         In the present case, Aquinas maintains conduct, academic, and attendance requirements for

 enrollment. Despite several accommodations and efforts by Aquinas to assist Plaintiff during his

 tenure, he was not able to meet such requirements, and was not a "qualified" individual at the time



                                                    23
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.279 Filed 11/19/20 Page 29 of 38




 of his last enrollment. Plaintiff could not maintain appropriate and safe conduct, or a stable pattern

 of attendance at the school, and would not comply with efforts by the College or his health

 providers to assist with this.

         As to the events for the period from 2016 forward, Plaintiff has not even applied for

 admission to Aquinas and thus has not established an injury for purposes of a claim of an alleged

 denial of enrollment. Even if he had done so, Aquinas' routine practice is to evaluate the conduct

 and criminal history of all applicants in determining their qualification to be admitted to the

 College, which is a part of the College's efforts to ensure a safe and sustainable academic

 environment for students. Plaintiff has denied discovery regarding the full extent of his criminal

 history, and, for the reasons set forth in Aquinas' Motion for Dismissal or Alternative Sanction

 Due to Plaintiff's Violation of the Court's Discovery Order, should be precluded from claiming he

 is "qualified." Notwithstanding this, based on even the limited evidence Aquinas has been able

 to identify, Plaintiff could not present a genuine issue of fact to satisfy his requirement of showing

 he is "otherwise qualified" for admission in light of his serious and ongoing pattern of criminal

 activity.3   Plaintiff's record contains several serious offenses and a lack of evidence of

 rehabilitation.

                   b.    Aquinas Provided Equal Access and Satisfied Any Duty of Reasonable
                         Modification

         Summary judgment is appropriate where the record reveals without a genuine issue of fact

 that an educational institution provided, or made reasonable modifications to provide, the student

 an opportunity for equal access to the institution's programs. See, e.g., Jakubowski v. Christ



         3Aquinas reserves the right to present further evidence and argument regarding Plaintiff's
 qualified status if Plaintiff is permitted further opportunity to comply with the Court's discovery
 order.

                                                  24
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.280 Filed 11/19/20 Page 30 of 38




 Hospital, Inc., 627 F.3d 195 (6th Cir. 2010) (affirming dismissal of plaintiff's claims based on

 finding there was no genuine issue of material fact as to whether the hospital employer met its duty

 of reasonable accommodation).

          In the instant case, the record reveals no indication that Aquinas denied Plaintiff or denies

 individuals generally equal access to its programming. There is no evidence of any different policy

 being applied against persons with disabilities as opposed to others that would support Plaintiff's

 claim.

          The undisputed facts further reveal that, during Plaintiff's tenure as a student, Aquinas

 made several modifications for him in an effort to ensure equal access notwithstanding his

 disability. Such measures included allowing him multiple extended absences from school,

 allowing him extra time to complete coursework, granting him the ability to withdraw from classes

 outside established time frames, reinstating him following suspension, attempting to work with

 Plaintiff and his treatment providers to ensure Plaintiff could maintain a stable health condition

 and be able to succeed at the College, and minimizing his fees when he was unable to so. On this

 basis also, Plaintiff's claims should be dismissed.

                 c.      Aquinas' Actions Toward Plaintiff Were Not "Because of" or "Solely
                         by reason of" Disability

          Under the Rehabilitation Act, a plaintiff must establish that the alleged discriminatory

 conduct was undertaken "solely because of the plaintiff's disability" in order to make out a claim.

 Doherty, 862 F.2d at 573 (emphasis added). Under the ADA, the plaintiff must establish that the

 plaintiff's disability was a motivating factor in the alleged discriminatory actions. Lewis v.

 Humboldt Acquisition Corp., Inc., 681 F.3d 312 (6th Cir. 2012) (distinguishing the ADA's

 "motivating factor" test from the "sole factor" test applicable under the Rehabilitation Act). The

 Michigan Persons with Disabilities Civil Rights Act prohibits educational institutions from

                                                   25
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.281 Filed 11/19/20 Page 31 of 38




 denying access to individuals or expelling, excluding, or otherwise discriminating against students

 because of a disability that is unrelated to the individual's ability to utilize the institution, or

 because of the use by an individual of adaptive devices or aids. MCLA § 37.1402. The

 MPWDCRA is substantially similar to the federal Americans with Disabilities Act, and courts take

 the same general approach to considering claims under each law. Peden v. City of Detroit, 470

 Mich. 195; 680 N.W.2d 857 (Mich. 2004).

        There is an important distinction between discharging someone for unacceptable

 misconduct and discharging someone "because of" his or her disability. Maddox v. Univ. of

 Tennessee, 62 F.3d 843, 847 (6th Cir. 1995) (abrogated on other grounds) (finding that employee

 was not discharged "solely because of disability" when he was terminated because of an off-duty

 arrest for DUI, his conduct during the arrest, and the negative publicity that resulted to the

 University); see also, Stanciel v. Donahoe, 570 Fed. Appx. 578 (6th Cir. 2014) (unpublished

 opinion, Ex. 36) (employee's termination for absenteeism, even if causally related to disability,

 was not a termination solely because of disability). The Sixth Circuit recognizes that entities

 covered by disability discrimination statutes "must be permitted to take appropriate action with

 respect to an [individual] on account of egregious or criminal conduct, regardless of whether the

 [individual] is disabled." Maddox, 62 F.3d at 845, 848 (analyzing Rehabilitation Act and ADA

 claims in employment context). Michigan courts have found similarly under the MPWDCRA.

 See, Collins v. Blue Cross Blue Shield of Michigan, 228 Mich. App. 560, 568 (1998) (upholding

 as matter of law the decision of plaintiff's employer to terminate plaintiff, who had a psychiatric

 disability, on the basis of plaintiff's statements about killing supervisor).

        In the present case, the undisputed facts establish that Aquinas' actions toward Plaintiff

 were based on his conduct, rather than being motivated by his status as having a disability. Indeed,



                                                   26
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.282 Filed 11/19/20 Page 32 of 38




 with respect to the events related to his tenure as a student, Aquinas personnel had knowledge of

 his medical condition, and made several efforts to work with him to allow his continued attendance

 at the College. The College only initiated any corrective or adverse action as Plaintiff's conduct

 continued to disrupt the College environment and his own performance as a student. With respect

 to the 2016 event, Aquinas took no action but to respond to Plaintiff's disruptive and harassing

 conduct on the College's campus. Plaintiff has no evidence that any of the personnel involved in

 reporting or responding to the incident even had any awareness that Plaintiff had a disability, much

 less that such disability, rather than his conduct, motivated the College's response to the situation.

        3.      Plaintiff's Claims are Barred by the Direct Threat Defense

        If a plaintiff can establish the elements of a claim of disability discrimination, a public

 accommodation must make the plaintiff's requested modification unless it proves either that doing

 so would pose a direct threat to the health or safety of others. Bragdon v. Abbott, 524 U.S. 624,

 648-49; 118 S.Ct. 2196; 141 L.Ed.2d 540 (1998). Claims under the Rehabilitation Act and the

 Americans with Disabilities Act are construed similarly with respect to this defense.         Doe v.

 Woodford County Bd. of Educ., 213 F.3d 921, 925 (6th Cir. 2000), citing, 42 U.S.C. § 12182(b)(3).

 Under Michigan's PWDCRA, the direct threat concept applies, but appears within the

 "qualifications" stage of the analysis. Collins, 228 Mich. App. at 570-571. The "qualification

 standards" an employee must meet with or without reasonable accommodation include “a

 requirement that an individual shall not pose a direct threat to the health and safety of other

 individuals in the workplace.” Id. While the existence of a "direct threat" is often an issue for the

 jury, summary judgment is nonetheless appropriate based on this defense where there is no genuine

 issue of material fact. See, Wurzel v. Whirlpool Corp., 482 Fed. Appx. 1 (6th Cir. 2012)




                                                  27
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.283 Filed 11/19/20 Page 33 of 38




 (unpublished opinion, Ex. 36) (affirming district court's dismissal of plaintiff's ADA claim on the

 basis of direct threat defense).

        A “direct threat” is “a significant risk to the health and safety of others that cannot be

 eliminated by a modification of policies, practices, or procedures or by the provision of auxiliary

 aids or services." Doe v. Woodford County Bd. of Educ., 213 F.3d at 925. An entity cannot rely

 on stereotypes or generalizations about the effects of a disability to determine if a disability poses

 a threat, but rather must make individual assessments based on reasonable judgment relying on

 current medical knowledge or objective evidence. Id.

        In the present case, Plaintiff has prevented discovery relevant to the applicability of the

 "direct threat" defense, as outlined in Aquinas' pending Motion for Dismissal or Other Sanction.

 The Court should consider the "direct threat" defense established in favor of Aquinas based on

 Plaintiff's violation of the Court's discovery order. Notwithstanding this, even based on the limited

 evidence Aquinas has been able to discover despite Plaintiff's obstruction, the uncontroverted

 evidence indicates the "direct threat" defense is applicable and bars Plaintiff's claims. During

 Plaintiff's tenure as a student and his efforts to be reinstated, the College made the assessment that

 he posed a risk of serious harm based on the objective evidence of Plaintiff's behavior. This

 assessment was further supported by the input of a medical professional engaged to evaluate

 Plaintiff individually. As to more recent time periods, Plaintiff has a substantial, serious, and

 repeating occurrence of criminal offenses. He also has a history of violent behaviors referenced

 in his medical records including, as late as 2019, threatening his psychiatrist, engaging in a violent

 episode in which he overturned furniture and papers in the psychiatrist's office, assaults or

 attempted assaults on medical personnel and fellow patients, and an assault on a public safety

 officer. According to Plaintiff's own treatment providers as of 2020, Plaintiff remains at "chronic



                                                  28
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.284 Filed 11/19/20 Page 34 of 38




 risk of decompensation and subsequent harm to himself or others due to his history of

 noncompliance" with his medical treatment. It is unknown what a full disclosure of Plaintiff's

 criminal history would add to this list, but this information alone demonstrates that the defense

 applies to bar Plaintiff's claims.4

 B.      Arguments Related to 1988-1990 Events

         1.      Plaintiff's Claims are Barred by a Prior Settlement of his OCR Charge

         A party that enters an agreement to resolve a dispute waives and releases the right to bring

 further legal action regarding that dispute. Reicher v. SET Enterprises, 283 Mich. App. 657, 664

 (2009). "An agreement to settle a dispute is a contract and is to be governed by the legal principles

 applicable to the construction and interpretation of contracts." See, Walbridge Aldinger Corp. v.

 Walcon Corp., 207 Mich. App. 566, 571 (1994). Courts are to enforce contracts, and honor the

 parties' intent, either expressed through unambiguous terms or by extrinsic evidence, See, Reicher,

 supra, at 657; see also, Port Huron Educ. Ass'n v. Port Huron Area Sch. Dist., 452 Mich. 309,

 323; 550 N.W.2d 228, 237 (1996). Only if the court determines that the contract is ambiguous does

 the question of the intent of the parties become a question of fact, subject to proof by extrinsic

 evidence and resolution by the trier of fact. See, UAW-GM Human Resources Ctr. v. KSL

 Recreation Corp., 228 Mich. App. 486, 491-92; 579 N.W.2d 411, 414 (1998).

         In the present case, Plaintiff filed a Charge with the Office of Civil Rights regarding his

 expulsion at some point prior to 1993 and entered a written agreement with Aquinas to resolve the

 dispute in August 1993. (Plaintiff Dep., Ex. 7, at 149-152; August 26, 1993 Letter Resolution

 Agreement, Ex. 26.) Plaintiff understood he was entering into the agreement to resolve the dispute


         4Aquinas  reserves the right to present further evidence and argument regarding the "direct
 threat" defense if Plaintiff is permitted further opportunity to comply with the Court's discovery
 order.

                                                  29
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.285 Filed 11/19/20 Page 35 of 38




 he had filed regarding his expulsion. (Plaintiff Dep., Ex. 7, at 149.) Plaintiff's lawsuit now seeks

 to contest the very decision he raised and settled in his OCR Charge. Plaintiff's claims related to

 his tenure as a student and his expulsion are barred and must be dismissed.

        2.      Plaintiff's ADA Claims Related to his Expulsion are Barred because they Pre-
                Date the Statute

        The ADA was signed into law July 26, 1990, but its provisions under Title III did not take

 effect until 18 months later, on January 26, 1992. I. PL 101–336, July 26, 1990, 104 Stat 327; see

 also, Boyle v. Brown Univ., 881 F. Supp. 747, 751 (D. Rhode Island 1995). The ADA is not

 retroactive, meaning it does not apply to claims that arose prior to the effective date. Id. Similar

 to situations involving a statute of limitations, in the context of claims under the ADA, stemming

 from conduct which occurred prior to the Act's effective date, “[a] plaintiff cannot use the

 continuing violation theory to resurrect claims about discrimination ... concluded in the past, even

 though its effects still persist.” Id. at 752, citing McGregor v. Louisiana State, 3 F.3d 850, 867

 (5th Cir. 1995).

        In the present case, Plaintiff's tenure as a student ended, and his expulsion occurred, on

 September 26, 1990. The effects of that expulsion, and the College's refusal to rescind it, do not

 constitute new acts of discrimination that would create a cause of action after the effective date of

 the statute. Plaintiff's claims thus pre-date the effective date of the statute and must be dismissed.

 Id.

 C.     Arguments Related Only to 2016 Incident

        1.      Plaintiff Made No Request for Modification Due to Disability

        A college is not obligated to provide a reasonable modification based on disability until the

 individual in need of such accommodation provides a proper diagnosis and requests a specific

 accommodation. Kaltenberger, 162 F.3d at 437. In the present case, in addition to all of the

                                                  30
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.286 Filed 11/19/20 Page 36 of 38




 generally applicable grounds for dismissal outlined above, Plaintiff did not make any request for

 modification based on disability. It is clear Plaintiff did not disclose a disability during the

 February 10, 2016 incident. Further, while it would have been untimely regardless, Plaintiff did

 not premise his request that the "no trespass" order be lifted on disability considerations or a need

 for modification of College policies due to a disability. Rather, Plaintiff's sole articulated basis for

 requesting the "no trespass" order be lifted was his opinion that he did not engage in the conduct

 attributed to him. Plaintiff's failure to make a proper request for modification under the statutes

 at issue is an additional reason his claims must be dismissed.

                                       V.      CONCLUSION

         Based on the foregoing, there is no material issue of fact that could support a judgment in

 Plaintiff's favor on his claims. Plaintiff's complaint should be dismissed in its entirety.

                                                 Respectfully submitted,

                                                 VARNUM LLP
                                                 Attorneys for Defendant

 Dated: November 19, 2020                        By:     /s/ Stephanie R. Setterington
                                                         Stephanie R. Setterington (P58177)
                                                         Bridgewater Place, P.O. Box 352
                                                         Grand Rapids, Michigan 49501-0352
                                                         (616) 336-6466
                                                         srsetterington@varnumlaw.com




                                                   31
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.287 Filed 11/19/20 Page 37 of 38




             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.2(b)(i)

        Using Microsoft Word 10, the word count for the preceding document, excluding caption,

 tables, and signature block, is 8,791words.

                                               Respectfully submitted,

                                               VARNUM LLP
                                               Attorneys for Defendant


 Dated: November 19, 2020                      By:    /s/ Stephanie R. Setterington
                                                      Stephanie R. Setterington (P58177)
                                                      Bridgewater Place, P.O. Box 352
                                                      Grand Rapids, Michigan 49501-0352
                                                      (616) 336-6466
                                                      srsetterington@varnumlaw.com




                                                 32
Case 1:19-cv-01037-PLM-RSK ECF No. 50, PageID.288 Filed 11/19/20 Page 38 of 38




                                CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of November, 2020, a copy of the foregoing
        was served by e-mail and regular United States mail, postage prepaid, upon the
        following party:

               Joseph Bruneau, Plaintiff pro se
               5020 Carson Ave., S.W.
               Grand Rapids, MI 49548
               joe_bruneau@yahoo.com

                                 /s/ Stephanie R. Setterington
                              Stephanie R. Setterington (P58177)



 17178152.2




                                                  33
